            Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 1 of 29




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


SMARTER AGENT, LLC,
                                                                   Civil Action No.: 6:21-cv-1172
                Plaintiff,

v.                                                              Jury Trial Demanded

REDFIN CORPORATION,

                Defendant.


                        COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Smarter Agent, LLC (“Smarter Agent” or “Plaintiff”), by its undersigned

attorneys, with knowledge in respect to its own acts and on information and belief as to other

matters, alleges as follows:

                                 NATURE OF THIS ACTION

       1.       Smarter Agent brings this action to compel Defendant Redfin Corporation

(“Redfin” or “Defendant”) to compensate Smarter Agent for patent infringement.

       2.       Smarter Agent invented systems and methods generally related to location-aware

search engines and related storage technology. Smarter Agent has offered for sale software

applications embodying or related to those inventions.

       3.       Smarter Agent’s systems and methods make location-based search queries more

efficient by allowing, for a location-based search focused in time and occurring at a specific

location, a user to focus a location-based search query without leaving the context of the location-

based search.
            Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 2 of 29




       4.       Smarter Agent provides products and services to real estate brokers and brokerages,

including mobile apps and Smarter Agent’s “Tech Connect” program. Smarter Agent’s products

and services have won multiple industry awards. These software products are compatible with

both the iOS and Android mobile platforms for wireless devices, such as smartphones and tablets.

       5.       In 2018, the Keller Williams brokerage firm purchased Smarter Agent

Mobile, LLC, a spin-off of Smarter Agent, which now operates as a turnkey software-as-a-service

provider.

       6.       Smarter Agent created through its own extensive expenditure of time, labor, effort,

skill, and money various products and services built on the technology described in or related to

the Patents-in-Suit (defined below).

                                            PARTIES

       7.       Smarter Agent is a private company with a principal place of business at 756

Haddon Avenue, Suite 300, Collingswood, New Jersey 08108.

       8.       Defendant Redfin is a Delaware corporation that maintains regular and established

places of business in Texas and within this District, including at and 300 East Sonterra Boulevard,

Suite 1275, San Antonio, Texas 78258. Redfin’s registered agent for service of process in Texas

is National Registered Agents, Inc., 1990 Bryan Street, Suite 900, Dallas, Texas 75201-3136.

                                 JURISDICTION AND VENUE

       9.       This Court has subject matter jurisdiction over this action under 28 U.S.C. §§ 1331

and 1338(a) because it raises a federal question under U.S. patent law, including 35 U.S.C. § 271.

       10.      Venue is proper in this District under 28 U.S.C. § 1400(b) and 28 U.S.C. § 1391(b)

because Defendant has committed acts of infringement in this District and because Defendant

maintains one or more regularly established places of business in this District.




                                                 2
          Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 3 of 29




       11.     This Court has personal jurisdiction over Defendant at least because Defendant

conducts business in this District, including infringing Smarter Agent’s patents. For example,

Defendant engages in infringing acts at its established place of business in this District.

                                    THE PATENTS-IN-SUIT

       12.     On August 20, 2003, inventors Brad and Eric Blumberg filed U.S. Patent

Application No. 10/644,060 (“the ʼ060 Application”). The ʼ060 Application was duly examined

and issued as U.S. Patent No. 7,457,628, entitled “System and Method for Providing Information

Based on Geographic Position,” on November 25, 2008 (“the ʼ628 Patent”).

       13.     Messrs. Blumberg assigned the ʼ628 Patent to Smarter Agent, Inc. See USPTO

Reel/Frame No. 020018/0796.         Smarter Agent, Inc. assigned the ʼ628 Patent to Smarter

Agent, LLC. See USPTO Reel/Frame No. 020024/0532.

       14.     Smarter Agent owns the ʼ628 Patent and has the full and exclusive right to bring

actions and recover past, present, and future damages for Defendant’s infringement.

       15.     The ʼ628 Patent is valid and enforceable. A copy of the ʼ628 Patent is attached

hereto as Exhibit A.

       16.     On November 21, 2008, Messrs. Blumberg filed U.S. Patent Application

No. 12/275,683 (“the ʼ683 Application”). The ʼ683 Application was duly examined and issued as

United States Patent No. 8,442,550, entitled “System and Method for Providing Information Based

on Geographic Position,” on May 14, 2013 (“the ʼ550 Patent”).

       17.     Messrs. Blumberg assigned the ʼ550 Patent to Smarter Agent, Inc. See USPTO

Reel/Frame No. 030214/0067.         Smarter Agent, Inc. assigned the ʼ550 Patent to Smarter

Agent, LLC. See USPTO Reel/Frame No. 030214/0062.




                                                  3
         Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 4 of 29




       18.     Smarter Agent owns the ʼ550 Patent and has the full and exclusive right to bring

actions and recover past, present, and future damages for Defendant’s infringement.

       19.     The ʼ550 Patent is valid and enforceable. A copy of the ʼ550 Patent is attached

hereto as Exhibit B.

       20.     On April 30, 2014, Messrs. Blumberg filed U.S. Patent Application No. 14/266,144

(“the ʼ144 Application). The ʼ144 Application was duly examined and issued as United States

Patent No. 9,183,584, entitled “System and Method for Providing Information Based on

Geographic Position,” on November 10, 2015 (“the ʼ584 Patent”).

       21.     Messrs. Blumberg assigned the ʼ584 Patent to Smarter Agent, Inc. See USPTO

Reel/Frame No. 033524/0135.       Smarter Agent, Inc. assigned the ʼ584 Patent to Smarter

Agent, LLC. See USPTO Reel/Frame No. 033524/0143.

       22.     Smarter Agent owns the ʼ584 Patent and has the full and exclusive right to bring

actions and recover past, present, and future damages for the Defendant’s infringement.

       23.     The ʼ584 Patent is valid and enforceable. A copy of the ʼ584 Patent is attached

hereto as Exhibit C.

       24.     On October 26, 2015, Messrs. Blumberg filed U.S. Patent Application

No. 14/922,428 (“the ʼ428 Application”). The ʼ428 Application was duly examined and issued as

U.S. Patent No. 9,754,317, entitled “System and Method for Providing Information Based on

Geographic Position,” on September 5, 2017 (“the ʼ317 Patent”).

       25.     Messrs. Blumberg assigned the ʼ317 Patent to Smarter Agent, Inc. See USPTO

Reel/Frame No. 036883/0583.       Smarter Agent, Inc. assigned the ʼ317 Patent to Smarter

Agent, LLC. See USPTO Reel/Frame No. 036883/0588.




                                               4
         Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 5 of 29




       26.     Smarter Agent owns the ʼ317 Patent and has the full and exclusive right to bring

actions and recover past, present, and future damages for Defendant’s infringement.

       27.     The ʼ317 Patent is valid and enforceable. A copy of the ʼ317 Patent is attached

hereto as Exhibit D.

       28.     On August 23, 2012, Messrs. Blumberg filed U.S. Patent Application

No. 13/592,411 (“the ʼ411 Application”). The ʼ411 Application was duly examined and issued as

United States Patent No. 9,002,371, entitled “Position-Based Information Access Device and

Method of Searching,” on April 7, 2015 (“the ʼ371 Patent”).

       29.     Messrs. Blumberg assigned the ʼ371 Patent to Smarter Agent, Inc. See USPTO

Reel/Frame No. 030876/0694.       Smarter Agent, Inc. assigned the ʼ371 Patent to Smarter

Agent, LLC. See USPTO Reel/Frame No. 030876/0729.

       30.     Smarter Agent owns the ʼ371 Patent and has the full and exclusive right to bring

actions and recover past, present, and future damages for Defendant’s infringement.

       31.     The ʼ371 Patent is valid and enforceable. A copy of the ʼ371 Patent is attached

hereto as Exhibit E.

       32.     On March 23, 2015, Messrs. Blumberg filed U.S. Patent Application

No. 14/665,444 (“the ʼ444 Application”). The ʼ444 Application was duly examined and issued as

U.S. Patent No. 9,754,333, entitled “Position-Based Information Access Device and Method of

Searching,” on September 5, 2017 (“the ʼ333 Patent”).

       33.     Messrs. Blumberg assigned the ʼ333 Patent to Smarter Agent, Inc. See USPTO

Reel/Frame No. 042181/0430.       Smarter Agent, Inc. assigned the ʼ333 Patent to Smarter

Agent, LLC. See USPTO Reel/Frame No. 042181/0472.




                                               5
         Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 6 of 29




       34.     Smarter Agent owns the ʼ333 Patent and has the full and exclusive right to bring

actions and recover past, present, and future damages for Defendant’s infringement.

       35.     The ʼ333 Patent is valid and enforceable. A copy of the ʼ333 Patent is attached

hereto as Exhibit F.

       36.     On October 14, 2005, Messrs. Blumberg filed U.S. Patent Application

No. 11/249,733 (“the ʼ733 Application”). The ʼ733 Application was duly examined and issued as

U.S. Patent No. 7,599,795, entitled “Mobile Location Aware Search Engine and Method of

Providing Content for Same,” on October 6, 2009 (“the ʼ795 Patent”).

       37.     Messrs. Blumberg assigned the ʼ795 Patent to Smarter Agent, Inc. See USPTO

Reel/Frame No. 020018/0796.       Smarter Agent, Inc. assigned the ʼ795 Patent to Smarter

Agent, LLC. See USPTO Reel/Frame No. 020024/0532.

       38.     Smarter Agent owns the ʼ795 Patent and has the full and exclusive right to bring

actions and recover past, present, and future damages for Defendant’s infringement.

       39.     The ʼ795 Patent is valid and enforceable. A copy of the ʼ795 Patent is attached

hereto as Exhibit G.

       40.     On October 5, 2009, Messrs. Blumberg filed U.S. Patent Application

No. 12/573,537 (“the ʼ537 Application”). The ʼ537 Application was duly examined and issued as

U.S. Patent No. 8,473,199, entitled “Mobile Location Aware Search Engine and Method of

Providing Content for Same,” on June 25, 2013 (“the ʼ199 Patent”).

       41.     Messrs. Blumberg assigned the ʼ199 Patent to Smarter Agent, Inc. See USPTO

Reel/Frame No. 029166/0526.       Smarter Agent, Inc. assigned the ʼ199 Patent to Smarter

Agent, LLC. See USPTO Reel/Frame No. 029166/0554.




                                               6
            Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 7 of 29




          42.   Smarter Agent owns the ʼ199 Patent and has the full and exclusive right to bring

actions and recover past, present, and future damages for Defendant’s infringement of the ʼ199

Patent.

          43.   The ʼ199 Patent is valid and enforceable. A copy of the ʼ199 Patent is attached

hereto as Exhibit H.

          44.   Smarter Agent has identified on its website that its software products are covered

by the ʼ795 Patent, the ʼ628 Patent, the ʼ199 Patent, and the ʼ550 Patent since at least October

2015.

          45.   Smarter Agent has identified on its website that its software products are covered

by the ʼ371 Patent since at least December 2015.

          46.   Smarter Agent has identified on its website that its software products are covered

by the ʼ584 Patent, the ʼ317 Patent, and the ʼ333 Patent since at least February 2019.

          50.   The ʼ628, ʼ550, ʼ584, ʼ317, ʼ371, ʼ333, ʼ795, and ʼ199 Patents are collectively

referred to herein as the “Patents-in-Suit.”

          51.   On information and belief, Defendant has had knowledge of Smarter Agent and the

Patents-in-Suit during the damages period.

          52.   As described below, Defendant has been and is still infringing the Patents-in-Suit

by at least using the “Redfin Real Estate” home search app or other similar home search apps (“the

app”), and by advertising, promoting, instructing, and facilitating the use of infringing devices

and/or systems, such as a smartphone having the app installed thereon (the “Accused System” or

“Accused Instrumentality”). Defendant’s acts of infringement have occurred within this District

and elsewhere throughout the United States. See Claim Charts for the Patents-in-Suit, attached




                                                7
          Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 8 of 29




hereto as Exhibits I–P (charting a mapping of each element of exemplary claims of the Patents-in-

Suit against the Redfin Real Estate home search app).

                           THE SMARTER AGENT INVENTIONS

       53.     The Patents-in-Suit arose from the inventive work of Brad and Eric Blumberg.

Messrs. Blumberg recognized numerous issues with prior search systems that required a user to be

physically located at a fixed computer or other terminal to access information databases. A key

innovation of the Patents-in-Suit, developed long before the ubiquity of personal mobile electronic

communication devices such as smartphones, was to enable a user’s location to be identified by a

remote information system via geolocation. That system could then provide information to the

user device at the user’s location and with such information being associated with the user’s

specific location.

       54.     For example, prior to the Patents-in-Suit, if an individual spotted a piece of real

estate of interest, such as a house for sale, they would need to memorize or write down the address

of the house, travel to a computer or other terminal elsewhere, and search a database of real estate

listings for information about the house. See, e.g., ʼ628 Patent at 2:13-19, 2:66-3:11.1 In the

systems and methods taught by the Patents-in-Suit, the user’s location is automatically made

available to a remote database via the user’s portable device wherever the user is located when

making the data request. Id. at 3:48-55. The user standing near a house for sale can thus use a

portable device to immediately access information about the house as well as information related

to nearby properties. Id. at 14:46-15:36. The user can also input information into the user device,

storing information in the information system or requesting further information from the




1
 Exemplary citations are made to the ʼ628 Patent, which is the earliest-issued of the Patents-in-
Suit. The disclosure of the ʼ628 Patent is thus applicable to all Patents-in-Suit.


                                                 8
          Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 9 of 29




information system, such as specific information about nearby landmarks. See, e.g., ʼ795 Patent

at 5:25-39. The above features and aspects reflect key innovations over conventional real estate

search systems, in which information generally traveled in one direction: from a Realtor to a

customer.

       55.     The inventions claimed in the Patents-in-Suit are centered on, or directed to, at least

three technical components: (1) the user’s portable device (referred to as a “wireless device,”

“electronic device,” “mobile electronic device,” or “handheld wireless device” in the claims)

having a user interface that includes menus and icons, (2) geolocation technology to identify the

location of the user’s portable device, and (3) an “information system” that stores information in

a database (which may be updated dynamically), the information system located remotely from

the user’s device. The innovations of the Patents-in-Suit allow immediate access to location-

specific information while a user is out and about, as well as the ability for a user device to provide

information to a remotely-located server, and again these innovations were conceived years before

smartphone technology became commonplace. The inventors of the Patents-in-Suit foresaw the

need to access information “on the fly” (e.g., while a user is viewing a house for sale), and the

eight Patents-in-Suit asserted in this action claim various implementations of that technology.

       56.     A prototype of the technology developed by Messrs. Blumberg appears below.




                                                  9
         Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 10 of 29




        57.    The prototype was constructed using a Palm VIIx personal digital assistant

combined with a GPS clip from a different manufacturer, and new software written to connect the

assembled hardware components and communicate with a remote real estate database. The

inventors of the Patents-in-Suit thus anticipated the use of a customized software application on a

GPS-enabled mobile device for real estate searching several years before the advent of smartphone

apps.



                                                10
         Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 11 of 29




THE CLAIMS OF THE PATENTS-IN-SUIT ARE NOT DRAWN TO ASBTRACT IDEAS

       58.     The claims of the Patents-in-Suit are drawn to patent-eligible subject matter under

35 U.S.C. § 101. The ʼ371 Patent, the ʼ584 Patent, the ʼ317 Patent and the ʼ333 Patent issued after

the Supreme Court’s decision in Alice Corp. v. CLS Bank Int’l, 573 U.S. 208 (2014), and thus

were examined by the USPTO under the post-Alice standard. For example, Section 101 was

specifically referenced in the communications between the Examiner and the Applicant during the

prosecution of the ʼ317 Patent. The Examiner’s determination that the post-Alice patents were

drawn to patent-eligible subject matter is applicable to all of the Patents-in-Suit.

       59.     The claims of the Patents-in-Suit are directed to a network architecture and specific

technical features. The claims generally include an “information system” and a user device, such

as a mobile device, that is located via geolocation. Several of the claims also rely on specific user

interface functionality, such as the use of icons and first and second menus. The Patents-in-Suit

thus involve physical network communications, discrete hardware components, and technical

solutions such as geolocation and dynamic database management.

       60.     The “information system” envisioned by the Patents-in-Suit is an improvement

over prior art, conventional sources of information for real estate listings, such as printed books

and static databases. For example, the ʼ628 Patent describes an information system including a

“seamless” grid, meaning the information is updated both spatially and temporally, which allows

information to “be updated in real-time.” ʼ628 Patent at 9:32-35. The ʼ628 Patent explains that

such a “seamless” grid “may be highly desirable as it allows the user of an electronic device to

query the database containing the information to receive information about the current conditions

of any particular location they wish.” Id. at 9:52-56. The ʼ628 Patent further explains that “the

invention includes a method of creating a seamless database including obtaining information from




                                                 11
         Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 12 of 29




a number of different sources associated with a number of locations. This information may, but

need not, define a seamless grid.” Id. at 11:42-46. This illustrates another technical improvement

over conventional unreliable search systems.

       61.     The Patents-in-Suit also describe “providing” information via a specific mobile

user interface and transmitting and receiving data using radio technology, bar codes, laser emitters,

optical sensors, radar, and via various forms of physical networks. See, e.g., ʼ628 Patent at 5:34-58,

6:51-63, 14:65-67. These physical technical elements are not “abstractions,” and communication

via these methods requires specific technical implementations.

       62.     The Patents-in-Suit are also directed to an improved network. As discussed above,

the use of electronic networks to exchange information concerning real estate in the prior art had

several problems in terms of reliability and usability. Prior art systems and methods were limited

by unreliable human memory and communication, static and incomplete sources of information,

and the inability to transmit certain forms of information (such as graphics and information about

nearby properties) via telephone. The intrinsic record of the Patents-in-Suit describes these

problems:

               The traditional method of buying real estate requires the prospective
               purchaser to transact through a real estate broker for virtually every
               aspect of the transaction, from finding a desired property to
               completing the sale. Often the most difficult part of the process,
               from the buyer’s perspective, is locating a desired piece of real
               estate. There are generally two methods employed to locate a
               desired piece of property.

               The first method relies solely on the real estate broker to use his or
               her contacts, including listing services, to locate property that meets
               the buyer’s specifications. The second is more random, in that if a
               buyer happens to pass a piece of property that is displaying a “for
               sale” sign, the buyer can write down the phone number shown on
               the sign to later inquire about the property, which then places the




                                                 12
         Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 13 of 29




                 transaction totally within the broker’s hands, as the broker controls
                 all the information relating to the property (e.g., size and cost).

ʼ628 Patent at 2:5-19.

       63.       The Patents-in-Suit solve these technical problems, in part, through the use of

location-based network technology, which is an improvement over earlier telephone network-

based real estate search processes.

       64.       The improvements of the Patents-in-Suit would be readily apparent to a person

skilled in the art. A buyer orally describing her location to a Realtor by phone is not equivalent to

providing data, via a user mobile electronic device, to an information system that stores and

provides information related to a geographic location associated with a position of the mobile

electronic device. The inconvenience of manually searching real estate listings by remembering

one’s location bears no resemblance to the geolocation technology disclosed by the Patents-in-

Suit. See ʼ628 Patent at 2:13-19, 2:66-3:11, 3:48-55.

       65.       Similarly, a real estate agent providing information via a communications network

cannot do so in the claimed manner without using geolocation technology to automatically

pinpoint the location of the user device and automatically obtain information specific to that

location. In other words, the agent is constrained by the prior art problems identified and solved

by the Patents-in-Suit—reliance on customer memory and the ability to locate and use a

conventional telephone to contact the real estate agent. Further, a Realtor, map, phone book, and

MLS book cannot be considered an “information system” at least because such printed information

sources references cannot be “dynamically updated” as required by certain of the asserted claims.

A dynamically updated database is a technical improvement over a real estate agent reading from

a static book.




                                                  13
         Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 14 of 29




       66.       Further, a “menu” displayed on the user interface of a mobile device is not

analogous to information provided orally by telephone. Providing a user interface within a

networked communication system is an improvement over prior networked systems that relied on

slower and less reliable human communication.           Nor is a buyer orally conveying search

preferences the type of technical query envisioned by the Patents-in-Suit. Again, automated search

technology is an improvement over using a communication network to request that a real estate

agent look up information in printed material.

       67.       There are thus numerous differences between a prior art telephone-based real estate

search process and the Patents-in-Suit, all of which involve discrete technical solutions that set the

claims apart from abstract ideas. Because of this, the Patents-in-Suit claim improvements in a

computer network, which is patent eligible. The inventors of the Patents-in-Suit recognized a

problem in using existing telecommunications networks to obtain location-specific information

and developed an improvement to the preexisting approach by utilizing specific geolocation,

mobile, database, and user interface technology. This improved network technology is not an

abstract idea.

       68.       The Patents-in-Suit also improve network security. While communications over a

telephone network are generally not secure, several claims of the Patents-in-Suit envision using

encryption to secure the location-based communications at issue.             See, e.g., ʼ628 Patent

at 20:22-30.

       69.       The Patents-in-Suit teach improvements in the functioning of a network to provide

location-centric information. Preexisting networks, without electronic database functionality,

geolocation technology, or dynamic search technology, could not process communications and

information in the way that the improved system of the Patents-in-Suit does. The Patents-in-Suit




                                                 14
         Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 15 of 29




add new functionality to the network, such as geolocation and a user interface enabling two-way

updating of information, that makes the network itself operate in an improved manner, and such

new functionality constitutes patent-eligible improvements over conventional systems.

       70.     The allegations above apply to each of the Patents-in-Suit. Therefore, the Patents-

in-Suit are not drawn to abstract ideas.

              THE PATENTS-IN-SUIT CONTAIN INVENTIVE CONCEPTS

       71.     As set forth in the Declaration from Dr. Ryan Garlick, which is incorporated by

reference (“Garlick Decl.”), backed by Dr. Garlick’s expertise both in computer networking and

real estate, the Patents-in-Suit contain inventive concepts.

       72.     As a general matter, the inventors of the Patents-in-Suit recognized the possibility

of using mobile devices for complex, location-based search operations long before such

functionality became commonplace via the advent of smart phones. Garlick Decl. ¶ 11. The best-

selling mobile phone in the United States in February 2000 (the effective priority date for the

Patents-in-Suit) was the Nokia 3310.




                                                 15
         Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 16 of 29




This device had no WiFi, no Bluetooth, no GPS, and no apps other than the simple built-in

programs like games, a calculator, and a currency converter. Id. It had a monochrome five-line

text display and could send SMS text messages. Id. The idea of obtaining and displaying

dynamically updated real estate information based on this device’s current location was not only

not well-understood, routine, or conventional, it was completely unknown. Id. Indeed, as

explained above, the inventors of the Patents-in-Suit had to combine a personal digital assistant

with no communication functionality with a GPS device and also write new specific software to

get the two components to operate with a real estate database. Such technology was unknown at

the time of the invention.


                                               16
            Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 17 of 29




        73.      As Dr. Garlick also explains, there were significant shortcomings in conventional

methods of shopping for real estate that were solved by the innovations of the Patents-in-Suit.

Id. ¶ 12.     In particular, the Patents-in-Suit integrate technological components—a database,

geolocation, a mobile device with an improved user interface, and in certain claims dynamically

updated information—to provide real estate services that were not previously available. Id.

Previously, a real estate agent assisting with a search was required to manually search a database

or printed resources on behalf of a client and present search results either over the phone or in

person. Id. Conveying searches over the phone precluded the use of visuals—such as the icons

claimed by the Patents-in-Suit—to assist the buyer in evaluating the search results. Id. If the

presentation of search results lacked visuals or detailed information, the search results inevitably

led to showing properties that the prospective buyer would reject on first sight. Id. The problem

was ameliorated through pictures or additional information available from a dynamically updated

database. Id. Accessing information from a dynamically-updated database also lessened the

concern of showing up at a property for sale to find that circumstances concerning the property

had changed—for example, the property had been sold, or the price had changed. Id. In short, the

conventional approach of presenting less detailed, less frequently updated information or

information over the phone inevitably resulted in buyers rejecting listings when seen in person,

wasting time and effort.

        74.      Dr. Garlick also explains that, prior to the Patents-in-Suit, a real estate agent and

buyer visiting a neighborhood to view a house for sale would often encounter other houses with

“For Sale” signs that had not been included in the agent’s manual search results. Id. ¶ 13.

Obtaining information about such an unexpected property was cumbersome and unreliable,

requiring a phone call to the seller’s agent who may not have then been available. Id. With the




                                                  17
         Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 18 of 29




Patents-in-Suit, information about such a property is available instantaneously using an electronic

database, geolocation of the buyer’s mobile device, and the mobile device delivering detailed

information. Id. These advantages were not present in the prior art and are only enabled by the

innovative integration of technological components, as claimed in the Patents-in-Suit.

       75.     The technical innovations of the Patents-in-Suit are embodied in the claims. Each

of the asserted claims requires discrete technological components—an information system,

geolocation technology, and a mobile device (with an improved user interface)—that are integrated

in a novel and unconventional way to deliver the advantages of the Patents-in-Suit. Id. ¶ 14.

       76.     To the extent the inventions of the Patents-in-Suit rely on generic computer

components, the specific combination and integration of those components was not routine,

conventional, or well-understood at the time of invention.       The Patents-in-Suit provide an

unconventional application using a novel integration of technical components.

       77.     As discussed above, the inventors of the Patents-in-Suit also recognized the

possibility of customized software running on GPS-enabled mobile communication devices years

before smartphone apps became commonplace. Id. ¶ 15. This approach therefore was not routine,

conventional, or well-understood. Id. Rather, the inventors redesigned a personal electronic

device to utilize technology in a new and innovative way. Id.

       78.     Beyond the use of personal electronic devices to transmit and obtain location-

specific information, the inventors recognized an unconventional and improved interface would

provide further utility by enabling a user to obtain different types of information—specifically

graphical information—about properties of interest. Id. ¶ 16. Graphics have become critical in

the sale and marketing of real estate, and the inventors recognized the possibility of obtaining

instantaneous graphical information about properties while a device user is out in the field. Id.




                                                18
         Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 19 of 29




The Patents-in-Suit thus describe a particular manner of summarizing and presenting information

using electronic devices that was not routine, conventional, or well-understood at the time of

invention. Id.

       79.       The use of geolocation, a dynamic database, and a user interface to obtain

information about not only a specific property of interest but similar properties was also not

routine, conventional, or well-understood at the time of invention. Id. ¶ 17. Not only could real

estate agents not provide such information reliably by telephone, but the now-commonplace

concept of a “similar search” or “suggested search” was not well-known at the time of invention.

Id. The inventors recognized that the integrated technology of the Patents-in-Suit could be used

to provide more, and better, information that would assist a user in searching for real estate. Id.

       80.       In addition, certain claims of the Patents-in-Suit are directed to technology that

provides the ability for users to provide reviews via mobile electronic devices, which further

updates the database of information concerning properties. This further enhances the reliability

and quantity of information available to other users via the information system. Id. ¶ 18. This

improvement in the value of resources based on the increased number of participants is an example

of the phenomenon known as the “network effect.” Id. The network effects enabled by the

Patents-in-Suit were not routine, conventional, or well-understood at the time of invention.

       81.       Claim 1 of the ʼ317 Patent recites:

                 1. A non-transitory processor-readable medium storing code
                 representing instructions to be executed by a processor, the code
                 comprising code to cause the processor to:

                 receive at a mobile electronic device from an information system
                 information related to a geographic location associated with a
                 position of the mobile electronic device and defined within a base
                 grid of the information system, the information including a plurality
                 of location identifiers, the information system being at a geographic
                 location remote from the geographic location of the mobile



                                                  19
         Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 20 of 29




               electronic device, the information system including a database
               including information related to a plurality of properties for sale and
               configured to be dynamically updated to associate information
               related to each property for sale from the plurality of properties for
               sale to a geographic location defined within the base grid;

               transmit from the mobile electronic device to the information system
               a selection of at least one location identifier from a plurality of
               location identifiers, each location identifier from the plurality of
               location identifiers associated with a unique street address of a
               property for sale located proximate to the geographic location
               associated with the position of the mobile electronic device;

               receive at the mobile electronic device, from the information
               system, data associated with the selected location identifier
               including a plurality of selectable icons configured to initiate a
               search for additional information associated with the selected
               location identifier; and

               transmit from the mobile electronic device to the information system
               data associated with a selection of a selectable icon from the
               plurality of selectable icons.

       82.     The claim limitation “a database including information related to a plurality of

properties for sale and configured to be dynamically updated to associate information related to

each property for sale from the plurality of properties for sale to a geographic location defined

within the base grid” corresponds to the inventive concept of providing a user device with access

to current information via dynamic updating of information in a database. Garlick Decl. ¶ 20. As

discussed above, this feature was a vast improvement over conventional search systems that relied

on static information. Id. Importantly, these advantages are recognized in the patent specification,

showing these advantages were understood by the inventors. See, e.g., ʼ317 Patent at 20:4-24.

       83.     The claimed database of Claim 1 that references dynamic updates and a base grid

corresponds to at least some of the features of the spatial information grid database described by

the ʼ317 Patent. Garlick Decl. ¶ 21. These features are an improvement over the routine and

conventional approach to real estate databases at the time of filing the ʼ317 Patent. Id.



                                                 20
         Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 21 of 29




        84.     Further, the claim limitations “receive at a mobile electronic device from an

information system information related to a geographic location associated with a position of the

mobile electronic device and defined within a base grid of the information system, the information

including a plurality of location identifiers, the information system being at a geographic location

remote from the geographic location of the mobile electronic device” shows the inventive concept

of geolocation for the purposes of obtaining location-specific information. Garlick Decl. ¶ 22.

This aspect is also an improvement over conventional, unreliable methods of incorporating a

specific location into a real estate search. Id. These advantages, too, are delineated in the

specification and recognized by the inventors. See, e.g., ʼ317 Patent at 17:20-48.

        85.     This system of the ʼ317 Patent overcame many technical problems in conventional

searches, in which a customer was required to orally convey a location to a real estate agent and

the real estate agent had to consult static information sources to manually identify nearby

properties. Garlick Decl. ¶ 23. This conventional search process had myriad reliability problems,

as explained above. The specification again recognizes this advantage of the claimed methods and

system. See, e.g., ʼ317 Patent at 18:23-48.

        86.     In sum, the Patents-in-Suit are thus drawn to patent-eligible subject matter.

        87.     The foregoing allegations regarding the ʼ317 Patent are applicable to each of the

Patents-in-Suit to the extent those Patents-in-Suit claim the same or similar features to those

claimed by the ʼ317 Patent.

                     COUNT I: INFRINGEMENT OF THE ʼ628 PATENT

        88.     Smarter Agent repeats and re-alleges the allegations of the above paragraphs as if

fully set forth herein.

        89.     The ʼ628 Patent includes 21 claims. ʼ628 Patent at 20:57–24:25.




                                                 21
         Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 22 of 29




        90.     Defendant has directly infringed and continues to directly infringe one or more

method claims of the ʼ628 Patent without authority at least by using, including without limitation

developing and testing, products and systems, including by way of example, the Accused System.

See Claim Chart for the ʼ628 Patent, attached hereto as Exhibit I.

        91.     Defendant has been and is directly infringing, either literally or under the doctrine

of equivalents, at least Claim 19 of the ʼ628 Patent at least by using the Accused System. Id.

        92.     Plaintiff is only asserting method claims for the ʼ628 Patent. The damages period

for the ʼ628 Patent is from the date of issue of the ʼ628 Patent or the date of Defendant’s first

infringement of the ʼ628 Patent, whichever is later, to the present, plus the time period of any

future infringement through the expiration of the ʼ628 Patent.

        93.     Defendant’s acts of infringement have occurred within this District and elsewhere

throughout the United States.

        94.     Smarter Agent has been damaged by Defendant’s infringement of the ʼ628 Patent.

                    COUNT II: INFRINGEMENT OF THE ʼ550 PATENT

        95.     Smarter Agent repeats and re-alleges the allegations of the above paragraphs as if

fully set forth herein.

        96.     The ʼ550 Patent includes 14 claims. ʼ550 Patent at 20:61–22:43.

        97.     Defendant has directly infringed and continues to directly infringe one or more

method claims of the ʼ550 Patent without authority by at least using, including without limitation

developing and testing, products and systems, including by way of example, the Accused System.

See Claim Chart for the ʼ550 Patent, attached hereto as Exhibit J.

        98.     Defendant has been and is directly infringing, either literally or under the doctrine

of equivalents, at least Claim 8 of the ʼ550 Patent at least by using the Accused System. Id.




                                                 22
         Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 23 of 29




        99.     Plaintiff is only asserting method claims for the ʼ550 Patent. The damages period

for the ʼ550 Patent is from the date of issue of the ʼ550 Patent or the date of Defendant’s first

infringement of the ʼ550 Patent, whichever is later, to the present, plus the time period of any

future infringement through the expiration of the ʼ550 Patent.

        100.    Defendant’s acts of infringement have occurred within this District and elsewhere

throughout the United States.

        101.    Smarter Agent has been damaged by Defendant’s infringement of the ʼ550 Patent.

                    COUNT III: INFRINGEMENT OF THE ʼ584 PATENT

        102.    Smarter Agent repeats and re-alleges the allegations of the above paragraphs as if

fully set forth herein.

        103.    The ʼ584 Patent includes 16 claims. ʼ584 Patent at 21:9–24:32.

        104.    Defendant has directly infringed and continues to directly infringe one or more

method claims of the ʼ584 Patent without authority at least by using, including without limitation

developing and testing, products and systems, including by way of example, the Accused System.

See Claim Chart for the ʼ584 Patent, attached hereto as Exhibit K.

        105.    Defendant has been and is directly infringing, either literally or under the doctrine

of equivalents, at least Claim 12 of the ʼ584 Patent at least by using the Accused System. Id.

        106.    Plaintiff is only asserting method claims for the ʼ584 Patent. The damages period

for the ʼ584 Patent is from the date of issue of the ʼ584 Patent or the date of Defendant’s first

infringement of the ʼ584 Patent, whichever is later, to the present, plus the time period of any

future infringement through the expiration of the ʼ584 Patent.

        107.    Defendant’s acts of infringement have occurred within this District and elsewhere

throughout the United States.




                                                 23
         Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 24 of 29




        108.    Smarter Agent has been damaged by Defendant’s infringement of the ʼ584 Patent.

                    COUNT IV: INFRINGEMENT OF THE ʼ317 PATENT

        109.    Smarter Agent repeats and re-alleges the allegations of the above paragraphs as if

fully set forth herein.

        110.    The ʼ317 Patent includes 20 claims. ʼ317 Patent at 21:43–24:53.

        111.    Defendant has directly infringed and continues to directly infringe one or more

claims of the ʼ317 Patent without authority at least by making and using, including without

limitation developing and testing, products and systems, including by way of example, the

Accused System. See Claim Chart for the ʼ317 Patent, attached hereto as Exhibit L.

        112.    Defendant has been and is directly infringing, either literally or under the doctrine

of equivalents, at least Claim 1 of the ʼ317 Patent at least by making and using the Accused System.

Id.

        113.    Defendant’s acts of infringement have occurred within this District and elsewhere

throughout the United States.

        114.    Smarter Agent has been damaged by Defendant’s infringement of the ʼ317 Patent.

                     COUNT V: INFRINGEMENT OF THE ʼ371 PATENT

        115.    Smarter Agent repeats and re-alleges the allegations of the above paragraphs as if

fully set forth herein.

        116.    The ʼ371 Patent includes 6 claims. ʼ371 Patent at 12:25–13:2.

        117.    Defendant has directly infringed and continues to directly infringe one or more

method claims of the ʼ371 Patent without authority at least by using, including without limitation

developing and testing, products and systems, including by way of example, the Accused System.

See Claim Chart for the ʼ371 Patent, attached hereto as Exhibit M.




                                                 24
         Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 25 of 29




        118.    Defendant has been and is directly infringing, either literally or under the doctrine

of equivalents, at least Claim 1 of the ʼ371 Patent at least by using the Accused System. Id.

        119.    Plaintiff is only asserting method claims for the ʼ371 Patent. The damages period

for the ʼ371 Patent is from the date of issue of the ʼ371 Patent or the date of Defendant’s first

infringement of the ʼ371 Patent, whichever is later, to the present, plus the time period of any

future infringement through the expiration of the ʼ371 Patent.

        120.    Defendant’s acts of infringement have occurred within this District and elsewhere

throughout the United States.

        121.    Smarter Agent has been damaged by Defendant’s infringement of the ʼ371 Patent.

                    COUNT VI: INFRINGEMENT OF THE ʼ333 PATENT

        122.    Smarter Agent repeats and re-alleges the allegations of the above paragraphs as if

fully set forth herein.

        123.    The ʼ333 Patent includes 12 claims. ʼ333 Patent at 12:56–14:41.

        124.    Defendant has directly infringed and continues to directly infringe one or more

method claims of the ʼ333 Patent without authority at least by using, including without limitation

developing and testing, products and systems, including by way of example, the Accused System.

See Claim Chart for the ʼ333 Patent, attached hereto as Exhibit N.

        125.    Defendant has been and is directly infringing, either literally or under the doctrine

of equivalents, at least Claim 7 of the ʼ333 Patent at least by using the Accused System. Id.

        126.    Plaintiff is only asserting method claims for the ʼ333 Patent. The damages period

for the ʼ333 Patent is from the date of issue of the ʼ333 Patent or the date of Defendant’s first

infringement of the ʼ333 Patent, whichever is later, to the present, plus the time period of any

future infringement through the expiration of the ʼ333 Patent.




                                                 25
         Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 26 of 29




        127.    Defendant’s acts of infringement have occurred within this District and elsewhere

throughout the United States.

        128.    Smarter Agent has been damaged by Defendant’s infringement of the ʼ333 Patent.

                    COUNT VII: INFRINGEMENT OF THE ʼ795 PATENT

        129.    Smarter Agent repeats and re-alleges the allegations of the above paragraphs as if

fully set forth herein.

        130.    The ʼ795 Patent includes 22 claims. ʼ795 Patent at 7:56–10:23.

        131.    Defendant has directly infringed and continues to directly infringe one or more

method claims of the ʼ795 Patent without authority at least by using, including without limitation

developing and testing, products and systems, including by way of example, the Accused System.

See Claim Chart for the ʼ795 Patent, attached hereto as Exhibit O.

        132.    Defendant has been and is directly infringing, either literally or under the doctrine

of equivalents, at least Claim 19 of the ʼ795 Patent at least by using the Accused System. Id.

        133.    Plaintiff is only asserting method claims for the ʼ795 Patent. The damages period

for the ʼ795 Patent is from the date of issue of the ʼ795 Patent or the date of Defendant’s first

infringement of the ʼ795 Patent, whichever is later, to the present, plus the time period of any

future infringement through the expiration of the ʼ795 Patent.

        134.    Defendant’s acts of infringement have occurred within this District and elsewhere

throughout the United States.

        135.    Smarter Agent has been damaged by Defendant’s infringement of the ʼ795 Patent.

                   COUNT VIII: INFRINGEMENT OF THE ʼ199 PATENT

        136.    Smarter Agent repeats and re-alleges the allegations of the above paragraphs as if

fully set forth herein.




                                                 26
           Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 27 of 29




       137.    The ʼ199 Patent includes 22 claims. ʼ199 Patent at 7:63–10:22.

       138.    Defendant has directly infringed and continues to directly infringe one or more

method claims of the ʼ199 Patent without authority at least by using, including without limitation

developing and testing, products and systems, including by way of example, the Accused System.

See Claim Chart for the ʼ199 Patent, attached hereto as Exhibit P.

       139.    Defendant has been and is directly infringing, either literally or under the doctrine

of equivalents, at least Claim 19 of the ʼ199 Patent at least by using the Accused System. Id.

       140.    Plaintiff is only asserting method claims for the ʼ199 Patent. The damages period

for the ʼ199 Patent is from the date of issue of the ʼ199 Patent or the date of Defendant’s first

infringement of the ʼ199 Patent, whichever is later, to the present, plus the time period of any

future infringement through the expiration of the ʼ199 Patent.

       141.    Defendant’s acts of infringement have occurred within this District and elsewhere

throughout the United States.

       142.    Smarter Agent has been damaged by Defendant’s infringement of the ʼ199 Patent.

                                    PRAYER FOR RELIEF

       WHEREFORE, Smarter Agent respectfully requests that the Court enter judgment as

follows:

       A.      Declaring that Defendant has infringed the Patents;

       B.      Awarding damages in an amount to be proven at trial, but in no event less than a

reasonable royalty for Defendant’s infringement including pre-judgment and post-judgment

interest at the maximum rate permitted by law;

       C.      Ordering an award of reasonable attorneys’ fees against Defendant to Smarter

Agent as provided by 35 U.S.C. § 285;




                                                 27
         Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 28 of 29




       D.      Awarding expenses, costs, and disbursements in this action against Defendant,

including prejudgment interest;

       E.      Ordering a permanent injunction enjoining Defendant, its officers, agents, servants,

employees, attorneys, and all other persons in active concert or participation with Defendant from

infringing the Patents; and

       F.      Awarding such other and further relief as the Court deems just and proper.

                                  DEMAND FOR JURY TRIAL

       Pursuant to Fed. R. Civ. P. 38, Plaintiff hereby demands trial by jury in this action of all

claims so triable.

Dated: November 12, 2021                     Respectfully submitted,



                                             By:
                                                   Michael C. Smith
                                                   Texas Bar No. 18650410
                                                   Michael.smith@solidcounsel.com
                                                   Scheef & Stone, LLP
                                                   113 East Austin Street
                                                   Marshall, TX 75670
                                                   Telephone: 903-838-8900
                                                   Facsimile: 972-767-4620

                                                   Robert R. Brunelli
                                                   (to be admitted pro hac vice)
                                                       rbrunelli@sheridanross.com
                                                   Matthew C. Holohan
                                                   (to be admitted pro hac vice)
                                                       mholohan@sheridanross.com
                                                   Paul Sung Cha
                                                   (to be admitted pro hac vice)
                                                       pscha@sheridanross.com
                                                   Patrick A. Fitch
                                                   (to be admitted pro hac vice)
                                                      pfitch@sheridanross.com
                                                   SHERIDAN ROSS P.C.



                                                28
Case 6:21-cv-01172-ADA Document 1 Filed 11/12/21 Page 29 of 29




                                1560 Broadway, Suite 1200
                                Denver, CO 80202
                                Telephone: 303-863-9700
                                Facsimile: 303-863-0223
                                litigation@sheridanross.com

                            Attorneys for Plaintiff Smarter Agent, LLC




                              29
